        Case 9:14-cr-00028-DLC Document 41 Filed 10/22/14 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                              CR 14–28–M–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 MORGANE JOSEPH BURLOT,

                      Defendant.



      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on October 1, 2014. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Morgane Joseph Burlot’s


                                           1
        Case 9:14-cr-00028-DLC Document 41 Filed 10/22/14 Page 2 of 2



guilty plea after Burlot appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of conspiracy to distribute

methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and 846 as set forth in

Count I of the Indictment. In exchange for Defendant’s plea, the United States has

agreed to dismiss Counts III of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

36), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Morgane Joseph Burlot’s motion to

change plea (Doc. 28) is GRANTED and Morgane Joseph Burlot is adjudged

guilty as charged in Count I of the Indictment.

      DATED this 22nd day of October, 2014.




                                         2
